
*585OPINION.
Teussell:
In accordance with the reasoning of the Board in the Appeal of Elmer E. Rodenbough, Executor, 1 B. T. A. 477, we are of the opinion that the record sufficiently establishes the identity of the stock of Eastman Kodak purchased for the sum of $18,180, as an exchange of the stock of the Continental &amp; Commercial National Bank received from a prior taxed estate within the meaning of section 403 (a) (2) of the Revenue Act of 1921, and should be deducted from the gross estate of Amy Lake Pietsch in ascertaining the value of her estate for the purposes of the estate tax.
The stock sales and purchases made through Noyes &amp; Jackson, brokers, present an entirely different situation. The record does not establish whether the 250 shares of Goodrich preferred received by Amy Lake Pietsch from her father’s estate were sold prior to the time of the purchase of the Allis Chalmers preferred. And, although the record does establish that the 800 shares of Goodrich common received from the estate of R. C. Lake were sold, it does not establish whether the sum received from such sale went into the Allis Chalmers stock or into the Corn Products stock. We are, therefore, of the opinion that the identity of the Allis Chalmers stock as acquired in exchange for securities received from a prior taxed estate is not established and can not now be allowed as a deduction from the gross estate of Amy Lake Pietsch.
*586With respect to the $48,000 of cash received by Amy Lake Pietsch from her father’s estate, the respondent, in his answer and at the trial, undertook to show by cross examination of petitioner’s witnesses that the securities claimed to have been purchased with this cash were not sufficiently identified with the cash to permit their deduction from the gross estate of Amy Lake Pietsch. Cross examination, however, was successful only in developing the facts which are shown in paragraph 8 of the findings of fact hereinabove. We are, therefore, of the opinion that the record clearly establishes the identity of the cash acquired from a prior-taxed estate and the securities purchased and remaining in the estate of Amy Lake Pietsch, and we are, therefore, of the opinion that the deduction of $47,447 should be allowed as set forth in the original deficiency letter.

The deficiency may he redetermined in accordance with the foregoing findings and opinion on 15 days' notice, pursuant to Rule 50, a/nd judgment will be entered in due course.

